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                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                                  )
                                                           )
                      Plaintiff,                           )
                                                           )
       v.                                                  )               Case No 24-10005
                                                           )
RICHARD WEISS,                                             )
                                                           )
                      Defendant.                           )


                          ACCEPTANCE OF PLEA OF GUILTY,
                           ADJUDICATION OF GUILT, AND
                              NOTICE OF SENTENCING


       Pursuant to the Report and Recommendations of United States Magistrate Judge Jonathan

Hawley to which there have been no timely objection, the plea of guilty of the Defendant to the

Counts 1 and 2 of the Information is hereby accepted, and Defendant is adjudged guilty of such

offense. This matter remains set for sentencing on May 30, 2024 at 10:00 a.m. in Peoria.

       ENTERED March 13, 2024.



                                            s/ James E. Shadid
                                            JAMES E. SHADID
                                            United States District Judge
